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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
v.                                                 §   Criminal No. 3:06-CR-285-L
                                                   §
DWAYNE KEITH MARSHALL (21)                         §

               ORDER ACCEPTING REPORT AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE
                        CONCERNING PLEA OF GUILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea

of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning Plea of

Guilty of the United States Magistrate Judge (“Report”), and no objections thereto having been filed

within ten days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge

determines that the Report of the Magistrate Judge concerning the Plea of Guilty should be

accepted. Based upon the Report of the Magistrate Judge the court finds that the defendant is fully

competent and capable of entering an informed plea, that the defendant is aware of the nature of the

charge and the consequences of the plea, and that his plea of guilty is a knowing and voluntary plea,

supported by an independent basis in fact, containing each of the essential elements of the offense.

Accordingly, the court accepts the plea of guilty entered by Defendant Dwayne Keith Marshall on

November 28, 2006, and he is hereby adjudged guilty of the offenses charged in Count Forty-One

of the Indictment, which is a violation of 21:841(a)(1) and 841(b)(1)(A)(iii), namely, distribution

of 50 grams or more of a mixture and substance containing a cocaine base, a Schedule II controlled

substance; and Count Thirty-Four, which is a violation of 18:924(c)(1)(A), namely, using, carrying

and brandishing a firearm during or in relation to a drug trafficking crime. Sentence will be imposed

in accordance with the court's scheduling order.
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       It is so ordered this 26th day of December, 2006.



                                                   _________________________________
                                                   Sam A. Lindsay
                                                   United States District Judge




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